Case 15-11323-KJC   Doc 504-1   Filed 02/08/17   Page 1 of 9




                    EXHIBIT A
               Case 15-11323-KJC          Doc 504-1     Filed 02/08/17     Page 2 of 9




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:

    Citadel Watford City Disposal Partners, L.P., et al.,1,
                                                              Chapter 11

                                                              Case No. 15-11323 (KJC)
                         Debtors.




               ORDER APPROVING DEBTORS’ MOTION FOR AN ORDER
              APPROVING AMENDMENT TO THE DEBTOR-IN-POSSESSION
                           FINANCING AGREEMENT

         Upon consideration of the motion (the “Motion”)2 of the Debtors for the entry of an

order, pursuant to sections 105, 361, 363, 364, 507, and 552 of the Bankruptcy Code, Bankruptcy

Rules 2002, 4001, and 9014, and Local Rule 4001-2 approving the Amendment to the DIP

Agreement attached hereto as Exhibit 1 (the “DIP Amendment”); and the Court having

considered Motion and the record in these Chapter 11 Cases; and it appearing that this Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that this is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that venue of this proceeding

and this Motion is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409; and due and

proper notice of the Motion having been given; and the Court having determined that the

Debtors’ entry into the DIP Amendment is an appropriate exercise of the Debtors’ sound



1
        The Debtors and the last four digits of their respective tax identification numbers are:
Citadel Energy Services, LLC (7762); Pembroke Fields, LLC (0341); Citadel Energy SWD
Holdings, LLC (5266); Citadel Watford City Disposal Partners, LP (1520). The mailing address
for each Debtor is, c/o Gavin/Solmonese 919 North Market Street, Suite 600, Wilmington, DE
19801.
2
  All capitalized terms not defined herein shall have the meaning ascribed to them in the Motion
                                                   10
              Case 15-11323-KJC          Doc 504-1      Filed 02/08/17     Page 3 of 9



business judgment; and their DIP Secured Parties having agreed to the terms of the DIP

Amendment and the entry of this Order, and after due deliberation and it appearing that sufficient

cause exists for granting the requested relief and that the relief requested is in the best interest of

the Debtors, their estates, and their creditors;

                IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED as set forth herein.

        2.      Pursuant to Sections 105, 361, 363, 364, 507, and 552 of the Bankruptcy Code,

Bankruptcy Rules 2002, 4001, and 9014, and Local Rule 4001-2, the DIP Amendment and the

Debtors’ entry into the DIP Amendment is hereby approved, and the Debtors are authorized to

perform all acts, and to make execute and deliver all instruments and documents in connection

therewith that may be reasonably required or necessary for the performance of their obligations

under the DIP Amendment.

        3.      This Court shall retain jurisdiction to hear and determine any and all matters

arising from or related to the interpretation or implementation of this Order.




Dated: February         , 2017
                                                               The Honorable Kevin Carey
                                                               United States Bankruptcy Judge




                                                   11
Case 15-11323-KJC   Doc 504-1   Filed 02/08/17   Page 4 of 9




                    EXHIBIT 1
              Case 15-11323-KJC       Doc 504-1     Filed 02/08/17     Page 5 of 9




  FIRST AMENDMENT TO POST PETITION LOAN AND SECURITY AGREEMENT

       This POST-PETITION LOAN AND SECURITY AGREEMENT (“Amendment”)
dated as of February __, 2017, is between CITADEL WATFORD CITY DISPOSAL
PARTNERS, LP, a limited partnership formed under the laws of the State of Delaware,
PEMBROKE FIELDS, LLC, a limited liability company formed under the laws of the State of
North Dakota, CITADEL ENERGY SERVICES, LLC, a limited liability company formed
under the laws of the State of Wyoming, and CITADEL ENERGY SWD HOLDINGS, LLC, a
limited liability company organized under the laws of the State of North Dakota (each, a
“Borrower” and collectively, “Borrowers”, which term shall refer to any Borrower or all of
Borrowers), and E-SOURCE ENERGY SWD, LLC, a limited liability company formed under
the laws of the State of Delaware (the “Lender”).



                                     W I T N E S S E T H:

       WHEREAS, Lender and Borrowers are parties to that certain Post Petition Loan and
Security Agreement (the “Agreement”) dated February 26, 2016; and

       WHEREAS, the Agreement, the Loan, and the transactions set forth therein were approved
by that certain final order entered by the Bankruptcy Court on February 10, 2016 (the “DIP
Order”); and

      WHEREAS, due to the Termination Date under the Agreement that is scheduled to occur
on February 26, 2017 and for other reasons, Lender and Borrowers have entered into this
Amendment.

        NOW, THEREFORE, in consideration of the premises hereto and the covenants set forth
herein, and other valuable consideration, the receipt of which is hereby acknowledged, Lender and
Borrowers hereby agree as follows:

                                          ARTICLE 1

                   REAFFIRMATION OF OBLIGATIONS AND DEFINED TERMS

        Section 1.01 Reaffirmation of Obligations: The Borrowers and Lender acknowledge that
they are and remain bound by the Loan Documents and the DIP Order to the fullest extent
permitted by law and that the Obligations are due and owing by the Borrowers to Lender in
accordance with the terms of the DIP Order and the Loan Documents without defense, reduction,
offset, counterclaim or right of recoupment, subject only to the terms of this Amendment on and
after the Amendment Effective Date.

       Section 1.02 Definitions: All capitalized terms not defined in this Amendment shall have
the meaning ascribed to such terms in the Agreement and the DIP Order.




PHIL1 5969108v.1
              Case 15-11323-KJC            Doc 504-1      Filed 02/08/17     Page 6 of 9



                                               ARTICLE 2

                                          THE AMENDMENT

        Section 2.01      Amendment of the Agreement. The Agreement is amended as follows:

                   a. The definition of “Termination Date” in the Agreement shall be replaced in its
                      entirety by the following definition: “‘Termination Date’ means the earliest of
                      (i) February 26, 2019, or (ii) one hundred twenty days after the date on which
                      all litigation actions filed by the Liquidating Trust on or before the Effective
                      Date (the “Trust Litigation Matters”) have been either resolved through
                      settlement or the entry of a final judgment by the Bankruptcy Court and the
                      Obligations have not been paid in full; or (iii) the date of any Event of Default.”

                   b. The definition of “Carve Out” in the Agreement shall be replaced in its entirety
                      by the following definition: “‘Carve Out’ means (i) all fees required to be paid
                      to the Clerk of the Bankruptcy Court and to the Office of the United States
                      Trustee pursuant to 28 U.S.C. § 1930(a); (ii) Allowed Professional Claims of
                      professionals retained by Borrowers and the Official Committee of Unsecured
                      Creditors, (iii) reasonable fees, costs and expenses of the Liquidating Trust and
                      (iv) from the net proceeds of Borrowers’ Causes of Action, the first $100,000,
                      allocated to Borrowers’ general unsecured creditors, which Carve Out shall be
                      paid in accordance with the Carve Out Waterfall.

                   c. The following definition shall be added to the Agreement: “‘Carve-Out
                      Waterfall’ means the distribution of the Carve Out by the Borrowers or the
                      Liquidating Trust as follows: The first $600,000 in proceeds of the Collateral
                      shall be allocated to the Carve Out and paid in accordance with the Plan. The
                      next $100,000 in proceeds of the Collateral shall be paid to the Lender and
                      applied to the Obligations. The next $300,000 in proceeds of the Collateral
                      shall be allocated to the Carve Out and paid in accordance with the Plan. The
                      remaining proceeds of the Collateral shall be allocated on a pro rata basis
                      between the Carve Out and the Obligations until the Carve Out and the
                      Obligations have paid in full.”

                   d. The following definition shall be added to the Agreement: “‘Liquidating Trust’
                      has the same meaning as has been ascribed to such term in the Plan.

                   e. The following definition shall be added to the Agreement: “‘Plan’ means the
                      Joint Chapter 11 Plan of Liquidation of the Borrowers and the Official
                      Committee of Unsecured Creditors filed in the Bankruptcy Court, as
                      supplemented and amended.”




PHIL1 5969108v.1
              Case 15-11323-KJC            Doc 504-1      Filed 02/08/17     Page 7 of 9



                                               ARTICLE 3

                                  COOPERATION AND RELEASES

       Section 3.01. Assistance with Causes of Action. Lender, through its affiliates, shall
reasonably cooperate with requests for information by the Liquidating Trust relating to Causes of
Action filed by the Liquidating Trust against insiders, directors and officers of the Borrowers and
understands that Lender and its affiliates may be compelled to provide testimony related to such
Causes of Action, but shall not be required to personally appear in Delaware.

        Section 3.02. Release. In consideration of this Amendment and the covenants set forth
herein, the Borrowers, together with their officers, directors, employees, agents and any other
person acting by or on behalf of any of them, do hereby remise, release and forever discharge,
Lender, Russell J. Miller, Greg Krueger, KNR Roustabout, Inc., R. James Consulting, Inc., KNR
Well Services, LLC and Leland Properties, of from and against any and all actions, causes of
action, suits, claims, demands, damages, costs, expenses, debts, dues, accounts, bonds, covenants,
contracts, agreements, judgments, promises, controversies, whatsoever, in law or equity, whether
known or unknown, suspected or unsuspected, arising out of or related in any way to the Borrowers
or the Borrowers’ Chapter 11 Bankruptcy cases, except as to Lender’s performance of the Loan
Documents.

        Section 3.03. California Litigation. The Borrowers acknowledge that any actions
undertaken by the plaintiffs in the action titled Leland Properties, LLC, et al v. Citadel Energy
Services, LLC, in the Superior Court of California for Los Angeles County, to collect judgments
against non-Borrowers on account of direct, non-derivative claims shall not constitute a violation
of the automatic stay or the Plan injunction.

                                               ARTICLE 4

              CONDITIONS PRECEDENT TO AMENDMENT EFFECTIVENESS

        Section 4.01. Conditions Precedent to Effectiveness. This Amendment shall become
effective upon the first business day after satisfaction of the following conditions (the
“Amendment Effective Date”):

        a.         Final Order. Entry of a Final Order approving the Amendment and such Final
                   Order shall be in full force and effect and shall not have been revised, modified,
                   amended or stayed.

        b.         Execution of Amendment. This Amendment shall have been executed by all
                   parties.

        c.         Plan Confirmation Order. Entry of a Final Order confirming the Plan in a form
                   acceptable to Lender in Lender’s sole discretion, and the occurrence of the effective
                   date of the Plan.

        d.         Amendment Fee. Payment to Lender of a non-refundable fee in the amount of
                   $10,000 that shall be fully earned on the Amendment Effective Date.


PHIL1 5969108v.1
              Case 15-11323-KJC        Doc 504-1     Filed 02/08/17     Page 8 of 9



        Section 4.02. Sunset Date. In the event the Amendment Effective Date does not occur
on or before March 30, 2017, Lender, at its option, may declare the Amendment null, void and of
no further force or effect whatsoever.


        IN WITNESS WHEREOF, this Post-Petition Loan and Security Agreement has been
duly executed and delivered by or on behalf of each of the parties as of the day and in the year
first above written.


                                             BORROWERS:

                                             PEMBROKE FIELDS, LLC


                                             By: ________________________________
                                             Name: Edward T. Gavin, CTP
                                             Title: Chief Restructuring Officer

                                             CITADEL ENERGY SWD HOLDINGS, LLC


                                             By: ________________________________
                                             Name: Edward T. Gavin, CTP
                                             Title: Chief Restructuring Officer


                                             CITADEL ENERGY SERVICES, LLC


                                             By: ________________________________
                                             Name: Edward T. Gavin, CTP
                                             Title: Chief Restructuring Officer


                                             CITADEL WATFORD CITY DISPOSAL
                                             PARTNERS, LP


                                             By: ________________________________
                                             Name: Edward T. Gavin, CTP
                                             Title: Chief Restructuring Officer

                                             LENDER:

                                             E-SOURCE ENERGY SWD, LLC

                                             By:
                                             Name:


PHIL1 5969108v.1
              Case 15-11323-KJC   Doc 504-1    Filed 02/08/17   Page 9 of 9



                                      Title:




PHIL1 5969108v.1
